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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT

  ___________________________________/

                             UNITED STATES’ NOTICE OF FILING

         In accordance with the Court’s Order of August 14, 2023, ECF No. 174, the United States

  hereby informs the Court that it has filed a less-redacted version of the search warrant affidavit at

  issue here on the public docket in the matter of United States v. Trump et al., No. 23-cr-80101

  (S.D. Fla.). The filing including the less-redacted affidavit is attached to this Notice.

         The government filed this less-redacted version of the affidavit in accordance with an order

  issued in the Trump criminal matter requiring the parties to file briefs and related materials

  previously filed under seal “in unredacted form,” except to redact “potential government witness

  names . . . , ancillary names, and PII from the subject materials.” Paperless Order, ECF No. 474,

  United States v. Trump (S.D. Fla. Apr. 22, 2024). The parties were also permitted to “make limited

  redactions” to “any grand jury material clearly falling under Fed. R. Crim. P. 6(e)” that was

  “quoted or specifically referenced.” See id. The attached version of the affidavit accordingly

  removes any redactions that fall outside of these categories.1




  1
    The Court in United States v. Trump also specifically authorized the approach the government
  took to redactions in the search warrant affidavit at issue here. See Order on Sealing Requests
  Associated with Defendants’ Motions to Compel Discovery at 22 n.20, ECF No. 438, United States
  v. Trump (S.D. Fla. Apr. 9, 2024).
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         The United States remains cognizant that it “is expected to notify the Court if the need for

  redaction ceases to exist because of public disclosures,” Order, ECF No. 174, and will continue to

  keep the Court apprised of any such updates moving forward.

  Date: May 1, 2024
                                                      Respectfully submitted,

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                                                      Civil Division

                                                      ELIZABETH J. SHAPIRO
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